                 Case 4:13-cr-00121-LGW-CLR Document 383 Filed 05/26/15 Page 1 of 1

AO 24?(l01ll) OrderRegarding                       Pur$afl to 18 U.S.C.I 3582(cX?)
                                           Reduclion
                           Motionfor SeDtence                                                                   Pag€I of2 (Page2

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                                                            UN'ITEDSTATESDISTRICTCOURT                                    AIf      0lv.
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                                                                SouthemDistrictof Georgia
                                                                   SavannahDivision
                    UnitedStatesof America
                                         V.
                                                                                CaseNo: 4:13CR00121-9
                         YoanndyRodriguez
                                                                                USMNo: 18262-021
Dateoforiginal Judgnenl:        Februarv25. 2014                                JohnE. Monison
DateofPreviousAmendedJudgment:Not Applicable                                    Defendant'sAttomey
(Use Date of Last Amended Judgment ifAny)

                     Order RegardingMotion for SentenceReductionPursuantto 18 U.S'C' $ 3582(c)(2)

       Uponmotionof I-l the defendantl-l theDirectorof the Bureauof Prisonsflthe courtunder18U.S.C.
$ 3582(cX2)for a reductionin the termof imprisonment imposedbasedon a guidelinesentencing  rangethathas
subsequentlybeenloweredandmaderetroactiveby theUnitedStatesSentencing       Commissionpursuantto 28 U.S.C.
$ 994(u),andhavingconsidered   suchmotion,andtakinginto accountthe policy statement setforth at USSG$ 1BL 10 and
             factorssetforth in l8 U.S.C,$ 3553(a),to the extentthatthey areapplicable,
the sentencing
IT IS ORDERED rhatrhemotionis:
                                       previouslyimposedsentence
 I lfNInO. fl CnaNffO andthe defendant's                       of imprisonment
                                                                             1osrcJtected
                                                                                      inthe,.,s,rudsmenl
                        bsueQof                     months is reduced to                               37 months


                                                    (Couplete Parts I and II ofPage 2 when uotion is grqnted)




Exceptasotherwiseprovidedabove,all provisionsofthejudgmentdated
IT IS SO ORDERED.
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Effective Date:
                                                                                 DudleyH, Bowen,Jr.
                     November1.2015                                              UnitedStatesDistrictJudqe
                      (if differcntfrom oder date)                                              Prinr"d
                                                                                                      no." *diiil-
